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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )         4:06CR3062-4
                                           )
                   Plaintiff,              )
                                           )
      vs.                                  )
                                           )         ORDER
ALEXANDER PRIETO,                          )
                                           )
                   Defendant.              )

      IT IS ORDERED that the defendant’s motion (filing 181) to withdraw Rule 35(b)
motion (filing 179) is granted.

      April 3, 2008.                    BY THE COURT:

                                        s/ Richard G. Kopf
                                        United States District Judge
